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            EXHIBIT D
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                                                           Exhibit A



JavaTM 2 Platform Standard Edition 5.0 API Specification                       Android APIs




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                                                           Exhibit A



JavaTM 2 Platform Standard Edition 5.0 API Specification                       Android APIs




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                                                           Exhibit A



JavaTM 2 Platform Standard Edition 5.0 API Specification                       Android APIs




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                                                                       Exhibit B

       JavaTM 2 Platform Standard Edition 5.0 API Specification                                         Android APIs
                             (java.lang)                                                                 (java.lang)
                                                                         Interfaces
Interface Summary
                      An object to which char sequences and values       Appendable         Declares methods to append characters or character
Appendable                                                                                  sequences.
                      can be appended.

                      A CharSequence is a readable sequence of           CharSequence       This interface represents an ordered set of characters
CharSequence                                                                                and defines the methods to probe them.
                      char values.

                      A class implements the Cloneable interface to
                                                                         Cloneable          This (empty) interface must be implemented by all
                      indicate to the Object.clone() method that it                         classes that wish to support cloning.
Cloneable
                      is legal for that method to make a field-for-field
                      copy of instances of that class.
                                                                         Comparable<T>      This interface should be implemented by all classes
                      This interface imposes a total ordering on the                        that wish to define a natural order of their instances.
Comparable<T>
                      objects of each class that implements it.
                                                                         terable<T>          nstances of classes that implement this interface can
                      Implementing this interface allows an object to
Iterable<T>                                                                                 be used with the enhanced for loop.
                      be the target of the "foreach" statement.

Readable              A Readable is a source of characters.              Readable           Represents a sequence of characters that can be
                                                                                            ncrementally read (copied) into a CharBuffer.
                      The Runnable interface should be implemented
Runnable              by any class whose instances are intended to be Runnable              Represents a command that can be executed.
                      executed by a thread.
                      Interface for handlers invoked when a Thread
Thread.Uncaught                                                          Thread.Uncaught     mplemented by objects that want to handle cases
                      abruptly terminates due to an uncaught
ExceptionHandler                                                         ExceptionHandler   where a thread is being terminated by an uncaught
                      exception.
                                                                                            exception.

                                                                         Classes
Class Summary
                                                                         Boolean            The wrapper for the primitive type boolean.
                      The Boolean class wraps a value of the
Boolean
                      primitive type boolean in an object.
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                                     (java.lang)                                                                 (java.lang)

                             The Byte class wraps a value of primitive type      Byte                The wrapper for the primitive type byte.
Byte
                             byte in an object.

                             The Character class wraps a value of the            Character           The wrapper for the primitive type char.
Character
                             primitive type char in an object.
                             Instances of this class represent particular        Character.Subset
Character.Subset
                             subsets of the Unicode character set.
                                                                                 Character.Unicode Represents a block of Unicode characters, as defined
Character.Unicode A family of character subsets representing the                 Block             by the Unicode 4.0.1 specification.
Block             character blocks in the Unicode specification.
                             Instances of the class Class represent classes      Class<T>            The in-memory representation of a Java class.
Class<T>
                             and interfaces in a running Java application.
                             A class loader is an object that is responsible     ClassLoader         Loads classes and resources from a repository.
ClassLoader
                             forr loading classes.
                                                                                 Compiler            Placeholder class for environments which explicitly
                             The Compiler class is provided to support Java-
Compiler                                                                                             manage the action of a Just In Time (JIT) compiler.
                             to-native-code compilers and related services.

                             The Double class wraps a value of the primitive Double
Double                                                                                               The wrapper for the primitive type double.
                             type double in an object.
Enum<E extends               This is the common base class of all Java           Enum<E extends      The superclass of all enumerated types.
Enum<E>>                     language enumeration types.                         Enum<E>>

                             The Float class wraps a value of primitive type Float                   The wrapper for the primitive type float.
Float
                             float in an object.

                             This class extends ThreadLocal to provide
                                                                                 InheritableThread   A thread-local variable whose value is passed from
                             inheritance of values from parent thread to child Local<T>              parent to child thread.
InheritableThread
                             thread: when a child thread is created, the child
Local<T>
                             receives initial values for all inheritable thread-
                             local variables for which the parent has values.
                             The Integer class wraps a value of the              nteger              The wrapper for the primitive type int.
Integer
                             primitive type int in an object.

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                                     (java.lang)                                                                 (java.lang)

                             The Long class wraps a value of the primitive
Long                                                                              Long               The wrapper for the primitive type long.
                             type long in an object.
                             The class Math contains methods for performing
                             basic numeric operations such as the elementary Math                    Class Math provides basic math constants and
Math                                                                                                 operations such as trigonometric functions, hyperbolic
                             exponential, logarithm, square root, and
                             trigonometric functions.                                                functions, exponential, logarithms, etc.

                             The abstract class Number is the superclass of
Number                       classes BigDecimal, BigInteger, Byte,                Number             The abstract superclass of the classes which represent
                             Double, Float, Integer, Long, and Short.                                numeric base types (that is Byte, Short, Integer,
                                                                                                     Long, Float, and Double.
Object                       Class Object is the root of the class hierarchy.
                                                                                  Object             The root class of the Java class hierarchy.
                             Package objects contain version information
Package                      about the implementation and specification of a
                             Java package.                                   Package                 Contains information about a Java package.

                             The ProcessBuilder.start() and
                             Runtime.exec methods create a native process
Process                      and return an instance of a subclass of Process Process                 Represents an external process.
                             that can be used to control the process and
                             obtain information about it.
                             This class is used to create operating system        ProcessBuilder     Creates operating system processes.
ProcessBuilder
                             processes.
                             Every Java application has a single instance of      Runtime            Allows Java applications to interface with the
                             class Runtime that allows the application to                            environment in which they are running.
Runtime
                             interface with the environment in which the
                             application is running.
RuntimePermission This class is for runtime permissions.                          RuntimePermission Represents the permission to execute a runtime-related
                                                                                                    function.
                             The security manager is a class that allows          SecurityManager   Warning: security managers do not provide a secure
SecurityManager
                             applications to implement a security policy.                           environment for executing untrusted code.
Short                        The Short class wraps a value of primitive type Short                   The wrapper for the primitive type short.
                                                                                   3
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                                    (java.lang)                                                                (java.lang)

                            short in an object.
                            An element in a stack trace, as returned by        StackTraceElement A representation of a single stack frame.
StackTraceElement
                            Throwable.getStackTrace().

                            The class StrictMath contains methods for       StrictMath            Class StrictMath provides basic math constants and
                            performing basic numeric operations such as the                       operations such as trigonometric functions, hyperbolic
StrictMath
                            elementary exponential, logarithm, square root,                       functions, exponential, logarithms, etc.
                            and trigonometric functions.

String                      The String class represents character strings.     String             An immutable sequence of characters/code units
                                                                                                  (chars).

                                                                               StringBuffer       A modifiable sequence of characters for use in
StringBuffer                A thread-safe, mutable sequence of characters.                        creating strings, where all accesses are synchronized.

                                                                               StringBuilder      A modifiable sequence of characters for use in
StringBuilder               A mutable sequence of characters.                                     creating strings.

                            The System class contains several useful class     System             Provides access to system-related information and
System
                            fields and methods.                                                   resources including standard input and output.

Thread                      A thread is a thread of execution in a program.    Thread             A Thread is a concurrent unit of execution.

                                                                               ThreadGroup        ThreadGroup is a means of organizing threads into a
ThreadGroup                 A thread group represents a set of threads.                           hierarchical structure.

                                                                               ThreadLocal<T>     mplements a thread-local storage, that is, a variable for
ThreadLocal<T>              This class provides thread-local variables.                           which each thread has its own value.

                            The Throwable class is the superclass of all       Throwable          The superclass of all classes which can be thrown by
Throwable
                            errors and exceptions in the Java language.                           the virtual machine.
                            The Void class is an uninstantiable placeholder
                                                                            Void                  Placeholder class for the Java keyword void.
Void                        class to hold a reference to the Class object
                            representing the Java keyword void.


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                                  (java.lang)                                                                (java.lang)
                                                                             Enums
Enum Summary
Thread.State              A thread state.                                    Thread.State        A representation of a thread's state.


                                                                             Exceptions
Exception Summary
Arithmetic                Thrown when an exceptional arithmetic              ArithmeticException Thrown when the an invalid arithmetic operation is
Exception                 condition has occurred.                                                attempted.

ArrayIndexOut                                                                ArrayIndexOutOf     Thrown when the an array is indexed with a value less
                          Thrown to indicate that an array has been
OfBounds                                                                     BoundsException     than zero, or greater than or equal to the size of the
                          accessed with an illegal index.                                        array.
Exception
                          Thrown to indicate that an attempt has been        ArrayStore          Thrown when a program attempts to store an element
ArrayStore
                          made to store the wrong type of object into an     Exception           of an incompatible type in an array.
Exception
                          array of objects.
                          Thrown to indicate that the code has attempted
ClassCast                                                                    ClassCastException Thrown when a program attempts to cast a an object to
                          to cast an object to a subclass of which it is not                    a type with which it is not compatible.
Exception
                          an instance.
                          Thrown when an application tries to load in a      ClassNotFound       Thrown when a class loader is unable to find a class.
ClassNotFound                                                                Exception
                          class through its string name using: The
Exception
                          forName method in class Class.

                          Thrown to indicate that the clone method in
CloneNot                                                                     CloneNotSupported Thrown when a program attempts to clone an object
                          class Object has been called to clone an
Supported                                                                    Exception         which does not support the Cloneable interface.
                          object, but that the object's class does not
Exception
                          implement the Cloneable interface.
EnumConstant              Thrown when an application tries to access an      EnumConstantNot Thrown if an enum constant does not exist for a
NotPresent                enum constant by name and the enum type            PresentException particular name.
Exception                 contains no constant with the specified name.
                          The class Exception and its subclasses are a       Exception           Exception is the superclass of all classes that
Exception                 form of Throwable that indicates conditions                            represent recoverable exceptions.
                          that a reasonable application might want to
                                                                              5
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                                   (java.lang)                                                                     (java.lang)

                           catch.
                           An IllegalAccessException is thrown when an llegalAccess                   Thrown when a program attempts to access a field or
                           application tries to reflectively create an         Exception              method which is not accessible from the location where
                           instance (other than an array), set or get a field,                        the reference is made.
IllegalAccess
                           or invoke a method, but the currently executing
Exception
                           method does not have access to the definition
                           of the specified class, field, method or
                           constructor.
                                                                                                      Thrown when a method is invoked with an argument
                                                                                  llegalArgument      which it can not reasonably deal with.
IllegalArgumentEx Thrown to indicate that a method has been                       Exception
ception           passed an illegal or inappropriate argument.

                           Thrown to indicate that a thread has attempted llegalMonitorState          Thrown when a monitor operation is attempted when
                                                                             Exception                the monitor is not in the correct state, for example when
IllegalMonitor             to wait on an object's monitor or to notify other                          a thread attempts to exit a monitor which it does not
StateException             threads waiting on an object's monitor without                             own.
                           owning the specified monitor.
                                                                                  llegalState         Thrown when an action is attempted at a time when the
IllegalState               Signals that a method has been invoked at an           Exception           virtual machine is not in the correct state.
Exception                  illegal or inappropriate time.
                                                                                  llegalThreadState Thrown when an operation is attempted which is not
IllegalThread              Thrown to indicate that a thread is not in an          Exception         possible given the state that the executing thread is in.
StateException             appropriate state for the requested operation.
                           Thrown to indicate that an index of some sort          ndexOutOfBounds Thrown when a program attempts to access a value in
IndexOutOf                                                                        Exception       an indexable collection using a value which is outside of
                           (such as to an array, to a string, or to a vector)
BoundsException                                                                                   the range of valid indices.
                           is out of range.
                           Thrown when an application tries to create an          nstantiation        Thrown when a program attempts to access a
                           instance of a class using the newInstance              Exception           constructor which is not accessible from the location
Instantiation                                                                                         where the reference is made.
                           method in class Class, but the specified class
Exception
                           object cannot be instantiated because it is an
                           interface or is an abstract class.
Interrupted                Thrown when a thread is waiting, sleeping, or          nterrupted          Thrown when a waiting thread is activated before the
Exception                  otherwise paused for a long time and another           Exception           condition it was waiting for has been satisfied.

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                                  (java.lang)                                                                    (java.lang)

                          thread interrupts it using the interrupt
                          method in class Thread.
                                                                                NegativeArraySize Thrown when an attempt is made to create an array
NegativeArray             Thrown if an application tries to create an
                                                                                Exception         with a size of less than zero.
SizeException             array with negative size.
NoSuchField               Signals that the class doesn't have a field of a      NoSuchField         Thrown when the virtual machine notices that a
Exception                 specified name.                                       Exception           program tries to reference, on a class or object, a field
                                                                                                    that does not exist.
                                                                                NoSuchMethod        Thrown when the virtual machine notices that a
NoSuchMethod              Thrown when a particular method cannot be             Exception           program tries to reference, on a class or object, a
Exception                 found.                                                                    method that does not exist.

                                                                                NullPointer         Thrown when a program tries to access a field or
NullPointer               Thrown when an application attempts to use            Exception           method of an object or an element of an array when
Exception                 null in a case where an object is required.
                                                                                                    there is no instance or array to use, that is if the object
                                                                                                    or array points to null.

                          Thrown to indicate that the application has      NumberFormat             Thrown when an invalid value is passed to a string-to-
NumberFormat              attempted to convert a string to one of the      Exception                number conversion method.
Exception                 numeric types, but that the string does not have
                          the appropriate format.
                                                                                RuntimeException RuntimeException is the superclass of all classes that
                          RuntimeException is the superclass of those                            represent exceptional conditions which occur as a
Runtime
                          exceptions that can be thrown during the                               result of executing an application in the virtual
Exception
                          normal operation of the Java Virtual Machine.                          machine.

Security                  Thrown by the security manager to indicate a          SecurityException   Thrown when a security manager check fails.
Exception                 security violation.
                                                                                StringIndexOutOf    Thrown when the a string is indexed with a value less
StringIndexOutOf          Thrown by String methods to indicate that an          BoundsException     than zero, or greater than or equal to the size of the
Bounds                    index is either negative or greater than the size                         array.
Exception                 of the string.
                                                                                TypeNotPresent      Thrown when a program tries to access a class,
TypeNotPresentEx Thrown when an application tries to access a
                                                                                Exception           nterface, enum or annotation type through a string that
ception          type using a string representing the type's                                        contains the type's name and the type cannot be
                                                                                 7
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                                   (java.lang)                                                                  (java.lang)

                           name, but no definition for the type with the                           found.
                           specified name can be found.
                                                                               Unsupported        Thrown when an unsupported operation is attempted.
Unsupported                                                                    OperationException
                           Thrown to indicate that the requested operation
Operation
                           is not supported.
Exception




Error Summary                                                                  Errors
AbstractMethod Thrown when an application tries to call an
                                                                               AbstractMethod      Thrown by the virtual machine when an abstract
Error          abstract method.
                                                                               Error               method is called.
AssertionError           Thrown to indicate that an assertion has failed.      AssertionError      Thrown when an assertion has failed.

                                                                                                   Thrown when the virtual machine notices that an
ClassCircularity Thrown when a circularity has been detected
                                                                               ClassCircularity    attempt is made to load a class which would directly or
Error            while initializing a class.                                   Error               ndirectly inherit from one of its subclasses.

                         Thrown when the Java Virtual Machine
ClassFormat              attempts to read a class file and determines that     ClassFormatError    Thrown by a class loader when a class file has an
Error                    the file is malformed or otherwise cannot be                              llegal format or if the data that it contains can not be
                         interpreted as a class file.                                              nterpreted as a class.
                         An Error is a subclass of Throwable that              Error               Error is the superclass of all classes that represent
Error                    indicates serious problems that a reasonable                              unrecoverable errors.
                         application should not try to catch.
ExceptionIn              Signals that an unexpected exception has              ExceptionInInitialize Thrown when an exception occurs during class
InitializerError         occurred in a static initializer.                     rError                nitialization.




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                                   (java.lang)                                                                  (java.lang)

                         Thrown if an application attempts to access or        llegalAccessError   Thrown when the virtual machine notices that a
IllegalAccess                                                                                      program tries access a field which is not accessible
                         modify a field, or to call a method that it does
Error                                                                                              from where it is referenced.
                         not have access to.


Incompatible                                                                    ncompatibleClassC IncompatibleClassChangeError is the superclass of
                         Thrown when an incompatible class change has          hangeError         all classes which represent errors that occur when
ClassChange
                         occurred to some class definition.                                        nconsistent class files are loaded into the same
Error
                                                                                                  running image.

                         Thrown when an application tries to use the           nstantiationError   Thrown when the virtual machine notices that a
Instantiation                                                                                      program tries to create a new instance of a class which
                         Java new construct to instantiate an abstract
Error                                                                                              has no visible constructors from the location where new
                         class or an interface.
                                                                                                   s invoked.

                                                                               nternalError        Thrown when the virtual machine notices that it has
                         Thrown to indicate some unexpected internal                               gotten into an undefined state.
InternalError
                         error has occurred in the Java Virtual Machine.
                         Subclasses of LinkageError indicate that a
                                                                               LinkageError        LinkageError is the superclass of all error classes that
                         class has some dependency on another class;
                                                                                                   occur when loading and linking class files.
LinkageError             however, the latter class has incompatibly
                         changed after the compilation of the former
                         class.
                         Thrown if the Java Virtual Machine or a               NoClassDefFound Thrown when the virtual machine is unable to locate a
                         ClassLoader instance tries to load in the             Error           class which it has been asked to load.
NoClassDef               definition of a class (as part of a normal method
FoundError               call or as part of creating a new instance using
                         the new expression) and no definition of the
                         class could be found.
                                                                               NoSuchFieldError    Thrown when the virtual machine notices that a
                         Thrown if an application tries to access or                               program tries to reference, on a class or object, a field
NoSuchField
                         modify a specified field of an object, and that                           that does not exist.
Error
                         object no longer has that field.


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                        Thrown if an application tries to call a specified     NoSuchMethod        Thrown when the virtual machine notices that a
                        method of a class (either static or instance), and     Error               program tries to reference, on a class or object, a
NoSuchMethod                                                                                       method that does not exist.
                        that class no longer has a definition of that
Error
                        method.
                        Thrown when the Java Virtual Machine cannot            OutOfMemoryError Thrown when a request for memory is made that can
OutOfMemory             allocate an object because it is out of memory,                         not be satisfied using the available platform resources.
Error                   and no more memory could be made available
                        by the garbage collector.

StackOverflow           Thrown when a stack overflow occurs because            StackOverflowError Thrown when the depth of the callstack of the running
Error                   an application recurses too deeply.                                       program excedes some platform or virtual machine
                                                                                                  specific limit.
                        An instance of ThreadDeath is thrown in the
                                                                               ThreadDeath         ThreadDeath is thrown when a thread stops executing.
ThreadDeath             victim thread when the stop method with zero
                        arguments in class Thread is called.
                        Thrown when an unknown but serious
                        exception has occurred in the Java Virtual             UnknownError        Thrown when the virtual machine must throw an error
UnknownError
                                                                                                   which does not match any known exceptional
                        Machine.
                                                                                                   condition.
                        Thrown if the Java Virtual Machine cannot find
UnsatisfiedLink                                                                UnsatisfiedLinkError Thrown when an attempt is made to invoke a native for
                        an appropriate native-language definition of a
Error                                                                                               which an implementation could not be found.
                        method declared native.
                        Thrown when the Java Virtual Machine
Unsupported
                        attempts to read a class file and determines that      UnsupportedClass Thrown when an attempt is made to load a class with a
ClassVersion                                                                   VersionError     format version that is not supported by the virtual
                        the major and minor version numbers in the file
Error                                                                                           machine.
                        are not supported.
                        Thrown when the "verifier" detects that a class        VerifyError         Thrown when the virtual machine notices that an
VerifyError             file, though well formed, contains some sort of                            attempt is made to load a class which does not pass
                        internal inconsistency or security problem.                                the class verification phase.
                        Thrown to indicate that the Java Virtual               VirtualMachineError VirtualMachineError is the superclass of all error
VirtualMachine                                                                                     classes that occur during the operation of the virtual
                        Machine is broken or has run out of resources
Error                                                                                              machine.
                        necessary for it to continue operating.
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Annotation Types Summary
                        A program element annotated @Deprecated is
                        one that programmers are discouraged from
Deprecated
                        using, typically because it is dangerous, or
                        because a better alternative exists.
                        Indicates that a method declaration is intended
Override
                        to override a method declaration in a superclass.
                        Indicates that the named compiler warnings
Suppress                should be suppressed in the annotated element
Warnings                (and in all program elements contained in the
                        annotated element).




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                                                                          Exhibit C


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                                    (java.io)                                                         (java.io)


Interface Summary                                                                  Interfaces
                                                                                   Closeable         Defines an interface for classes that can
                            A Closeable is a source or destination of data
Closeable                                                                                            (or need to) be closed once they are not
                            that can be closed.                                                      used any longer.
                            The DataInput interface provides for reading           DataInput         Defines an interface for classes that are
                            bytes from a binary stream and reconstructing                            able to read typed data from some
DataInput                                                                                            source.
                            from them data in any of the Java primitive
                            types.
                            The DataOutput interface provides for
                                                                                   DataOutput        Defines an interface for classes that are
                            converting data from any of the Java primitive
DataOutput                                                                                           able to write typed data to some target.
                            types to a series of bytes and writing these bytes
                            to a binary stream.
                            Only the identity of the class of an
                                                                                   Externalizable    Defines an interface for classes that
                            Externalizable instance is written in the
                                                                                                     want to be serializable, but have their
Externalizable              serialization stream and it is the responsibility of                     own binary representation.
                            the class to save and restore the contents of its
                            instances.
                                                                                   FileFilter        An interface for filtering File objects
FileFilter                  A filter for abstract pathnames.                                         based on their names or other
                                                                                                     nformation.

                            Instances of classes that implement this interface     FilenameFilter    An interface for filtering File objects
FilenameFilter
                            are used to filter filenames.                                            based on their names or the directory
                                                                                                     they reside in.

                            A Flushable is a destination of data that can be       Flushable         Defines an interface for classes that can
Flushable                                                                                            (or need to) be flushed, typically before
                            flushed.
                                                                                                     some output processing is considered to
                                                                                                     be finished and the object gets closed.

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                                       (java.io)                                                                  (java.io)
                                                                                        ObjectInput              Defines an interface for classes that
                               ObjectInput extends the DataInput interface to
ObjectInput                                                                                                      allow reading serialized objects.
                               include the reading of objects.
                               Callback interface to allow validation of objects        ObjectInputValidation    A callback interface for post-
ObjectInputValidation                                                                                            deserialization checks on objects.
                               within a graph.
                               ObjectOutput extends the DataOutput interface            ObjectOutput             Defines an interface for classes that
ObjectOutput                                                                                                     allow reading serialized objects.
                               to include writing of objects.
                               Constants written into the Object Serialization          ObjectStreamConstants    A helper interface with constants used
ObjectStreamConstants                                                                                            by the serialization implementation.
                               Stream.
                                                                                        Serializable             An empty marker interface for classes
                                                                                                                 that want to support serialization and
                               Serializability of a class is enabled by the class
Serializable                                                                                                     deserialization based on the
                               implementing the java.io.Serializable interface.                                  ObjectOutputStream and
                                                                                                                 ObjectInputStream classes.


                                                                                        Classes
Class Summary
                                      A BufferedInputStream adds
                                                                                        BufferedInputStream     Wraps an existing InputStream and
                                      functionality to another input stream-
BufferedInputStream                                                                                             buffers the input.
                                      namely, the ability to buffer the input and
                                      to support the mark and reset methods.
                                                                                        BufferedOutputStream    Wraps an existing OutputStream and
                                      The class implements a buffered output                                    buffers the output.
BufferedOutputStream
                                      stream.
                                      Read text from a character-input stream,          BufferedReader          Wraps an existing Reader and buffers
                                      buffering characters so as to provide for                                 the input.
BufferedReader
                                      the efficient reading of characters, arrays,
                                      and lines.
                                      Write text to a character-output stream,          BufferedWriter          Wraps an existing Writer and buffers
BufferedWriter                        buffering characters so as to provide for                                 the output.
                                      the efficient writing of single characters,

                                                                                    2
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                                                                            Exhibit C
                  TM
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                                       (java.io)                                                               (java.io)

                                      arrays, and strings.
                                      A ByteArrayInputStream contains an             ByteArrayInputStream    A specialized InputStream for reading
ByteArrayInputStream                  internal buffer that contains bytes that                               the contents of a byte array.
                                      may be read from the stream.
                                                                                     ByteArrayOutputStream   A specialized OutputStream for class for
                                      This class implements an output stream in                              writing content to an (internal) byte
ByteArrayOutputStream
                                      which the data is written into a byte array.                           array.

                                      This class implements a character buffer       CharArrayReader         A specialized Reader for reading the
CharArrayReader                       that can be used as a character-input                                  contents of a char array.
                                      stream.
                                                                                     CharArrayWriter         A specialized Writer for class for writing
                                                                                                             content to an (internal) char array.
                                      This class implements a character buffer
CharArrayWriter                                                                      Console                 Provides access to the console, if
                                      that can be used as an Writer.
                                                                                                             available.

                                                                                     DataInputStream         Wraps an existing InputStream and
                                      A data input stream lets an application
                                                                                                             reads typed data from it.
                                      read primitive Java data types from an
DataInputStream
                                      underlying input stream in a machine-
                                      independent way.
                                      A data output stream lets an application       DataOutputStream        Wraps an existing OutputStream and
DataOutputStream                      write primitive Java data types to an                                  writes typed data to it.
                                      output stream in a portable way.
                                      An abstract representation of file and         File                    An "abstract" representation of a file
File                                                                                                         system entity identified by a pathname.
                                      directory pathnames.
                                      Instances of the file descriptor class serve   FileDescriptor          The lowest-level representation of a file,
                                      as an opaque handle to the underlying                                  device, or socket.
FileDescriptor                        machine-specific structure representing an
                                      open file, an open socket, or another
                                      source or sink of bytes.

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                                                                               Exhibit C
                    TM
             Java        2 Platform Standard Edition 5.0 API Specification                                     Android APIs
                                         (java.io)                                                               (java.io)
                                                                                          FileInputStream      A specialized InputStream that reads
                                        A FileInputStream obtains input bytes                                  from a file in the file system.
FileInputStream
                                        from a file in a file system.

                                        A file output stream is an output stream          FileOutputStream     A specialized OutputStream that writes
                                                                                                               to a file in the file system.
FileOutputStream                        for writing data to a File or to a
                                        FileDescriptor.
                                                                                          FilePermission       A permission for accessing a file or
                                        This class represents access to a file or                              directory.
FilePermission
                                        directory.

                                        Convenience class for reading character           FileReader           A specialized Reader that reads from a
FileReader
                                        files.                                                                 file in the file system.


                                                                                          FileWriter           A specialized Writer that writes to a file
                                        Convenience class for writing character                                in the file system.
FileWriter
                                        files.


                                        A FilterInputStream contains some                 FilterInputStream    Wraps an existing InputStream and
                                        other input stream, which it uses as its                               performs some transformation on the
FilterInputStream                       basic source of data, possibly                                         input data while it is being read.
                                        transforming the data along the way or
                                        providing additional functionality.
                                                                                          FilterOutputStream   Wraps an existing OutputStream and
                                        This class is the superclass of all classes
FilterOutputStream                                                                                             performs some transformation on the
                                        that filter output streams.                                            output data while it is being written.

                                                                                          FilterReader         Wraps an existing Reader and performs
                                        Abstract class for reading filtered                                    some transformation on the input data
FilterReader
                                        character streams.                                                     while it is being read.




                                                                                      4
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                                                                             Exhibit C
                  TM
           Java        2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                                       (java.io)                                                                        (java.io)
                                                                                         FilterWriter                 Wraps an existing Writer and performs
                                      Abstract class for writing filtered                                             some transformation on the output data
FilterWriter
                                      character streams.                                                              while it is being written.

                                      This abstract class is the superclass of all       nputStream                   The base class for all input streams.
InputStream                           classes representing an input stream of
                                      bytes.
                                      An InputStreamReader is a bridge from              nputStreamReader             A class for turning a byte stream into a
                                      byte streams to character streams: It reads                                     character stream.
InputStreamReader
                                      bytes and decodes them into characters
                                      using a specified charset.
                                      Deprecated. This class incorrectly                 LineNumberInputStream        This class is deprecated. Use
LineNumberInputStream                 assumes that bytes adequately represent                                         LineNumberReader
                                      characters.

                                      A buffered character-input stream that             LineNumberReader             Wraps an existing Reader and counts
LineNumberReader                                                                                                      the line terminators encountered while
                                      keeps track of line numbers.
                                                                                                                      reading the data.

                                                                                         ObjectInputStream            A specialized InputStream that is able
                                      An ObjectInputStream deserializes
                                                                                                                      to read (deserialize) Java objects as well
ObjectInputStream                     primitive data and objects previously
                                                                                                                      as primitive data types (int, byte, char
                                      written using an ObjectOutputStream.                                            etc.).

                                                                                         ObjectInputStream.GetField   GetField is an inner class that provides
                                      Provide access to the persistent fields read                                    access to the persistent fields read from
ObjectInputStream.GetField
                                      from the input stream.                                                          the source stream.

                                                                                         ObjectOutputStream           A specialized OutputStream that is able
                                      An ObjectOutputStream writes primitive                                          to write (serialize) Java objects as well
ObjectOutputStream                    data types and graphs of Java objects to                                        as primitive data types (int, byte, char
                                      an OutputStream.                                                                etc.).



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                                                                                Exhibit C
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           Java        2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                                       (java.io)                                                                        (java.io)
                                                                                         ObjectOutputStream.PutField PutField is an inner class to provide
                            Provide programmatic access to the                                                       access to the persistent fields that are
ObjectOutputStream.PutField persistent fields to be written to                                                       written to the target stream.
                            ObjectOutput.
                                                                                         ObjectStreamClass             Represents a descriptor for identifying a
                                                                                                                       class during serialization and
ObjectStreamClass                     Serialization's descriptor for classes.                                          deserialization.

                                                                                         ObjectStreamField             Describes a field for the purpose of
                                      A description of a Serializable field from                                       serialization.
ObjectStreamField
                                      a Serializable class.
                                                                                         OutputStream                  The base class for all output streams.
                                      This abstract class is the superclass of all
OutputStream                          classes representing an output stream of
                                      bytes.
                                      An OutputStreamWriter is a bridge from
                                                                                         OutputStreamWriter            A class for turning a character stream
                                      character streams to byte streams:                                               into a byte stream.
OutputStreamWriter
                                      Characters written to it are encoded into
                                      bytes using a specified charset.
                                      A piped input stream should be connected           PipedInputStream              Receives information from a
                                      to a piped output stream; the piped input                                        communications pipe.
PipedInputStream
                                      stream then provides whatever data bytes
                                      are written to the piped output stream.
                                      A piped output stream can be connected
                                                                                         PipedOutputStream             Places information on a communications
PipedOutputStream                     to a piped input stream to create a                                              pipe.
                                      communications pipe.

PipedReader                           Piped character-input streams.                     PipedReader                   Receives information on a
                                                                                                                       communications pipe.

PipedWriter                           Piped character-output streams.                    PipedWriter                   Places information on a communications
                                                                                                                       pipe.


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                                                                          Exhibit C
                 TM
          Java        2 Platform Standard Edition 5.0 API Specification                                    Android APIs
                                      (java.io)                                                              (java.io)

                                                                                     PrintStream           Wraps an existing OutputStream and
                                     A PrintStream adds functionality to
                                                                                                           provides convenience methods for
                                     another output stream, namely the ability                             writing common data types in a human
PrintStream
                                     to print representations of various data                              readable format.
                                     values conveniently.


                                                                                     PrintWriter           Wraps either an existing OutputStream
                                                                                                           or an existing Writer and provides
                                     Print formatted representations of objects                            convenience methods for printing
PrintWriter                                                                                                common data types in a human readable
                                     to a text-output stream.
                                                                                                           format.


                                                                                     PushbackInputStream   Wraps an existing InputStream and
                                                                                                           adds functionality to "push back" bytes
                                                                                                           that have been read, so that they can be
                                     A PushbackInputStream adds                                            read again.
                                     functionality to another input stream,
PushbackInputStream
                                     namely the ability to "push back" or
                                     "unread" one byte.



                                                                                     PushbackReader        Wraps an existing Reader and adds
                                     A character-stream reader that allows                                 functionality to "push back" characters
PushbackReader                       characters to be pushed back into the                                 that have been read, so that they can be
                                     stream.                                                               read again.

                                                                                     RandomAccessFile      Allows reading from and writing to a file
                                     Instances of this class support both                                  in a random-access manner.
RandomAccessFile                     reading and writing to a random access
                                     file.



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                                       (java.io)                                                                  (java.io)

                                      Abstract class for reading character            Reader                    The base class for all readers.
Reader
                                      streams.
                                      A SequenceInputStream represents the            SequenceInputStream       Concatenates two or more existing
SequenceInputStream                   logical concatenation of other input                                      InputStreams.
                                      streams.
                                                                                      SerializablePermission    Is used to enable access to potentially
SerializablePermission                This class is for Serializable permissions.                               unsafe serialization operations.

                                      The StreamTokenizer class takes an              StreamTokenizer           Parses a stream into a set of defined
                                      input stream and parses it into "tokens",                                 tokens, one at a time.
StreamTokenizer
                                      allowing the tokens to be read one at a
                                      time.
                                                                                      StringBufferInputStream   This class is deprecated. Use
                                      Deprecated. This class does not properly
StringBufferInputStream                                                                                         StringReader
                                      convert characters into bytes.

                                                                                      StringReader              A specialized Reader that reads
                                      A character stream whose source is a
StringReader                                                                                                    characters from a String in a sequential
                                      string.                                                                   manner.


                                      A character stream that collects its output     StringWriter              A specialized Writer that writes
StringWriter                          in a string buffer, which can then be used                                characters to a StringBuffer in a
                                      to construct a string.                                                    sequential manner, appending them in
                                                                                                                the process.
                                      Abstract class for writing to character         Writer                    The base class for all writers.
Writer
                                      streams.




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                                                                           Exhibit C
                 TM
          Java        2 Platform Standard Edition 5.0 API Specification                                           Android APIs
                                      (java.io)                                                                     (java.io)
                                                                                       Exceptions
Exception Summary
                                        Base class for character conversion            CharConversionException      The top level class for character
CharConversionException                                                                                             conversion exceptions.
                                        exceptions.

                                                                                       EOFException                 Thrown when a program encounters
                                        Signals that an end of file or end of
                                                                                                                    the end of a file or stream during an
EOFException                            stream has been reached unexpectedly                                         nput operation.
                                        during input.

                                        Signals that an attempt to open the file
FileNotFoundException                   denoted by a specified pathname has            FileNotFoundException        Thrown when a file specified by a
                                        failed.                                                                     program cannot be found.

                                        Signals that an I/O operation has been         nterruptedIOException        Signals that a blocking I/O operation
InterruptedIOException                                                                                              has been interrupted.
                                        interrupted.
                                        Thrown when the Serialization runtime          nvalidClassException         Signals a problem during the
InvalidClassException                   detects one of the following problems                                       serialization or or deserialization of an
                                        with a Class.                                                               object.

                                        Indicates that one or more deserialized        nvalidObjectException        Signals that, during deserialization, the
InvalidObjectException
                                        objects failed validation tests.                                            validation of an object has failed.

                                        Signals that an I/O exception of some          OException                   Signals a general, I/O-related error.
IOException
                                        sort has occurred.

                                        Thrown when serialization or                   NotActiveException           Signals that a serialization-related
NotActiveException                                                                                                  method has been invoked in the wrong
                                        deserialization is not active.
                                                                                                                    place.

                                                                                       NotSerializableException     Signals that an object that is not
                                        Thrown when an instance is required to                                      serializable has been passed into the
NotSerializableException
                                        have a Serializable interface.                                              ObjectOutput.writeObject()
                                                                                                                    method.
                                                                                   9
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          Java        2 Platform Standard Edition 5.0 API Specification                                            Android APIs
                                      (java.io)                                                                      (java.io)


                                        Superclass of all exceptions specific to       ObjectStreamException          Signals some sort of problem during
ObjectStreamException                                                                                                 either serialization or deserialization of
                                        Object Stream classes.
                                                                                                                      objects.

                                        Exception indicating the failure of an
                                        object read operation due to unread            OptionalDataException          Signals that the ObjectInputStream
OptionalDataException                   primitive data, or the end of data                                            class encountered a primitive type
                                        belonging to a serialized object in the                                       (int, char etc.) instead of an object
                                        stream.                                                                        nstance in the input stream.

                                                                                       StreamCorruptedException       Signals that the readObject() method
                                                                                                                      could not read an object due to
                                        Thrown when control information that                                          missing information (for example, a
StreamCorruptedException                was read from an object stream violates                                       cyclic reference that doesn't match a
                                        internal consistency checks.                                                  previous instance, or a missing class
                                                                                                                      descriptor for the object to be loaded).

                                                                                       SyncFailedException            Signals that the sync() method has
SyncFailedException                     Signals that a sync operation has failed.                                     failed to complete.

                                                                                       UnsupportedEncodingExceptionThrown when a program asks for a
                                        The Character Encoding is not                                              particular character converter that is
UnsupportedEncodingException
                                        supported.                                                                 unavailable.

                                        Signals that a malformed string in
                                        modified UTF-8 format has been read            UTFDataFormatException         Signals that an incorrectly encoded
UTFDataFormatException                  in a data input stream or by any class                                        UTF-8 string has been encountered,
                                        that implements the data input                                                most likely while reading some
                                        interface.                                                                    DataInputStream.

                                        Signals that one of the                        WriteAbortedException          Signals that the readObject() method
WriteAbortedException                   ObjectStreamExceptions was thrown                                             has detected an exception marker in
                                        during a write operation.                                                     the input stream.



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                                                                   Exhibit D


            JavaTM 2 Platform Standard Edition 5.0 API Specification                                      Android APIs
                                 (java.security)                                                          (java.security)
                                                                               Interfaces
Interface Summary
                              Deprecated. A new certificate handling            Certificate            This interface is deprecated. Replaced by
Certificate
                              package is created in the Java 2 platform.                               behavior in java.security.cert
                              A DomainCombiner provides a means to              DomainCombiner         DomainCombiner is used to update and
                              dynamically update the ProtectionDomains                                 optimize ProtectionDomains from an
DomainCombiner
                              associated with the current                                              AccessControlContext.
                              AccessControlContext.
                              This interface represents a guard, which is       Guard                  Guard implementors protect access to
Guard                         an object that is used to protect access to                              other objects.
                              another object.
                              The Key interface is the top-level interface
Key                                                                             Key                    Key is the common interface for all keys.
                              for all keys.

                              A marker interface for KeyStore entry             KeyStore.Entry         Entry is the common marker interface for
KeyStore.Entry
                              types.                                                                   a KeyStore entry.

                                                                                KeyStore.LoadStore     LoadStoreParameter represents a
KeyStore.LoadStore            A marker interface for KeyStore load and          Parameter              parameter that specifies how a KeyStore
Parameter                     store parameters.                                                        can be loaded and stored.


                                                                                KeyStore.ProtectionP   ProtectionParameter is a marker
KeyStore.Protection           A marker interface for keystore protection        arameter               interface for protection parameters.
Parameter                     parameters.                                       Policy.Parameters      A marker interface for Policy parameters.


                              This interface represents the abstract notion     Principal              Principals are objects which have
                                                                                                       identities.
                              of a principal, which can be used to
Principal
                              represent any entity, such as an individual, a
                              corporation, and a login id.
                                                                       1
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                                    (java.security)                                                         (java.security)

                                                                                   PrivateKey             PrivateKey is the common interface for
PrivateKey                       A private key.                                                           private keys.

                                                                                   PrivilegedAction<T>    PrivilegedAction represents an action
                                 A computation to be performed with                                       that can be executed privileged regarding
PrivilegedAction<T>
                                 privileges enabled.                                                      access control.

                                 A computation to be performed with                PrivilegedException    PrivilegedAction represents an action,
PrivilegedException                                                                Action<T>              that can be executed privileged regarding
                                 privileges enabled, that throws one or more
Action<T>                                                                                                 access control.
                                 checked exceptions.
                                                                                   PublicKey              PublicKey is the common interface for
PublicKey                        A public key.                                                            public keys.




                                                                                  Classes
Class Summary
                                                                                   AccessControlContext    AccessControlContext encapsulates
                     An AccessControlContext is used to make                                               the ProtectionDomains on which access
AccessControlContext system resource access decisions based on the                                         control decisions are based.
                     context it encapsulates.


                                                                                   AccessController        AccessController provides static
                               The AccessController class is used for access
AccessController                                                                                           methods to perform access control
                               control operations and decisions.
                                                                                                           checks and privileged operations.

                                                                                   AlgorithmParameter      AlgorithmParameterGenerator is an
                               The AlgorithmParameterGenerator class is            Generator               engine class which is capable of
AlgorithmParameter                                                                                         generating parameters for the algorithm it
                               used to generate a set of parameters to be used
Generator                                                                                                  was initialized with.
                               with a certain algorithm.
                                                                                   AlgorithmParameter      AlgorithmParameterGeneratorSpi is
AlgorithmParameter             This class defines the Service Provider             GeneratorSpi            the Service Provider Interface (SPI)
GeneratorSpi                   Interface (SPI) for the                                                     definition for
                                                                          2
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                                   (java.security)                                                     (java.security)

                              AlgorithmParameterGenerator class, which                                 AlgorithmParameterGenerator.
                              is used to generate a set of parameters to be
                              used with a certain algorithm.
                                                                                 AlgorithmParameters   AlgorithmParameters is an engine class
                              This class is used as an opaque representation                           which provides algorithm parameters.
AlgorithmParameters
                              of cryptographic parameters.

                              This class defines the Service Provider            AlgorithmParameters   AlgorithmParametersSpi is the Service
AlgorithmParameters           Interface (SPI) for the AlgorithmParameters        Spi                   Provider Interface (SPI) definition for
                                                                                                       AlgorithmParameters.
Spi                           class, which is used to manage algorithm
                              parameters.
                                                                                 AllPermission         AllPermission represents the
                              The AllPermission is a permission that implies                           permission to perform any operation.
AllPermission
                              all other permissions.

                                                                                 AuthProvider          AuthProvider is an abstract superclass
                              This class defines login and logout methods for                          for Java Security Provider which provide
AuthProvider                                                                                           login and logout.
                              a provider.

                              The BasicPermission class extends the              BasicPermission       BasicPermission is the common base
                              Permission class, and can be used as the base                            class of all permissions which have a
BasicPermission                                                                                        name but no action lists.
                              class for permissions that want to follow the
                              same naming convention as BasicPermission.
                              This class encapsulates information about a        CodeSigner            CodeSigner represents a signer of code.
CodeSigner
                              code signer.
                              This class extends the concept of a codebase to    CodeSource            CodeSource encapsulates the location
                              encapsulate not only the location (URL) but                              from where code is loaded and the
CodeSource                    also the certificate chains that were used to                            certificates that were used to verify that
                              verify signed code originating from that                                 code.
                              location.



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                                     (java.security)                                                    (java.security)


                                                                                   DigestInputStream    DigestInputStream is a
                                A transparent stream that updates the                                   FilterInputStream which maintains an
DigestInputStream               associated message digest using the bits going                          associated message digest.
                                through the stream.




                                                                                   DigestOutputStream   DigestOutputStream is a
                                A transparent stream that updates the                                   FilterOutputStream which maintains an
DigestOutputStream              associated message digest using the bits going                          associated message digest.
                                through the stream.




                                A GuardedObject is an object that is used to       GuardedObject        GuardedObject controls access to an
GuardedObject
                                protect access to another object.                                       object, by checking all requests for the
                                                                                                        object with a Guard.


                                                                                   Identity             This class is deprecated. The functionality
Identity                        Deprecated. This class is no longer used.                               of this class has been replace by
                                                                                                        Principal, KeyStore and the
                                                                                                        java.security.cert package.


                                                                                   IdentityScope        This class is deprecated. The functionality
IdentityScope                   Deprecated. This class is no longer used.                               of this class has been replace by
                                                                                                        Principal, KeyStore and the
                                                                                                        java.security.cert package.




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                                     (java.security)                                                     (java.security)

                                                                                   KeyFactory            KeyFactory is an engine class that can
                                                                                                         be used to translate between public and
                                Key factories are used to convert keys (opaque
                                                                                                         private key objects and convert keys
                                cryptographic keys of type Key) into key                                 between their external representation,
KeyFactory
                                specifications (transparent representations of                           that can be easily transported and their
                                the underlying key material), and vice versa.                            internal representation.


                                                                                   KeyFactorySpi         KeyFactorySpi is the Service Provider
                                This class defines the Service Provider
KeyFactorySpi                                                                                            Interface (SPI) definition for KeyFactory.
                                Interface (SPI) for the KeyFactory class.

                                                                                   KeyPair               KeyPair is a container for a public key
                                This class is a simple holder for a key pair (a                          and a private key.
KeyPair
                                public key and a private key).


                                                                                   KeyPairGenerator      KeyPairGenerator is an engine class
                                The KeyPairGenerator class is used to generate                           which is capable of generating a private
KeyPairGenerator                                                                                         key and its related public key utilizing the
                                pairs of public and private keys.
                                                                                                         algorithm it was initialized with.

                                This class defines the Service Provider            KeyPairGeneratorSpi   KeyPairGeneratorSpi is the Service
                                Interface (SPI) for the KeyPairGenerator                                 Provider Interface (SPI) definition for
KeyPairGeneratorSpi
                                class, which is used to generate pairs of public                         KeyPairGenerator.
                                and private keys.
                                Standardized representation for serialized Key     KeyRep                KeyRep is a standardized representation
KeyRep
                                objects.                                                                 for serialized Key objects.

                                This class represents a storage facility for       KeyStore              KeyStore is responsible for maintaining
KeyStore
                                cryptographic keys and certificates.                                     cryptographic keys and their owners.



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                                   (java.security)                                                     (java.security)


                                                                                 KeyStore.Builder      Builder is used to construct new
                              A description of a to-be-instantiated KeyStore                           instances of KeyStore.
KeyStore.Builder
                              object.


                                                                                 KeyStore.Callback     CallbackHandlerProtection is a
KeyStore.Callback             A ProtectionParameter encapsulating a              HandlerProtection     ProtectionParameter that encapsulates
HandlerProtection             CallbackHandler.                                                         a CallbackHandler.



                                                                                 KeyStore.Password     PasswordProtection is a
KeyStore.Password             A password-based implementation of
                                                                                 Protection            ProtectionParameter that protects a
Protection                    ProtectionParameter.
                                                                                                       KeyStore using a password.


KeyStore.PrivateKey           A KeyStore entry that holds a PrivateKey           KeyStore.PrivateKey   PrivateKeyEntry represents a
Entry                         and corresponding certificate chain.               Entry                 KeyStore entry that holds a private key.


KeyStore.SecretKey                                                               KeyStore.SecretKey    SecretKeyEntry represents a KeyStore
                              A KeyStore entry that holds a SecretKey.
Entry                                                                            Entry                 entry that holds a secret key.


KeyStore.Trusted              A KeyStore entry that holds a trusted              KeyStore.Trusted      TrustedCertificateEntry represents a
CertificateEntry              Certificate.                                       CertificateEntry      KeyStore entry that holds a trusted
                                                                                                       certificate.

                              This class defines the Service Provider            KeyStoreSpi           KeyStoreSpi is the Service Provider
KeyStoreSpi
                              Interface (SPI) for the KeyStore class.                                  Interface (SPI) definition for KeyStore.

                              This MessageDigest class provides
MessageDigest                                                                    MessageDigest         Uses a one-way hash function to turn an
                              applications the functionality of a message
                                                                                                       arbitrary number of bytes into a fixed-

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                              digest algorithm, such as MD5 or SHA.                                     length byte sequence.

                              This class defines the Service Provider            MessageDigestSpi       MessageDigestSpi is the Service
                              Interface (SPI) for the MessageDigest class,                              Provider Interface (SPI) definition for
MessageDigestSpi
                              which provides the functionality of a message                             MessageDigest.
                              digest algorithm, such as MD5 or SHA.


                                                                                 Permission             Permission is the common base class of
                              Abstract class for representing access to a                               all permissions that participate in the
Permission
                              system resource.                                                          access control security framework around
                                                                                                        AccessController and
                                                                                                        AccessControlContext.

                                                                                 PermissionCollection   PermissionCollection is the common
                              Abstract class representing a collection of                               base class for all collections that provide
PermissionCollection                                                                                    a convenient method for determining
                              Permission objects.
                                                                                                        whether or not a given permission is
                                                                                                        implied by any of the permissions present
                                                                                                        in this collection.

                                                                                 Permissions            Permissions represents a
                              This class represents a heterogeneous                                     PermissionCollection where the
Permissions
                              collection of Permissions.                                                contained permissions can be of different
                                                                                                        types.

                                                                                 Policy                 Policy is the common super type of
                              This is an abstract class for representing the                            classes which represent a system
                              system security policy for a Java application                             security policy.
Policy
                              environment (specifying which permissions are
                                                                                 PolicySpi              Represents the Service Provider Interface
                              available for code from various sources).                                 (SPI) for java.security.Policy class.

                              This ProtectionDomain class encapsulates the       ProtectionDomain       ProtectionDomain represents all
ProtectionDomain                                                                                        permissions that are granted to a specific
                              characteristics of a domain, which encloses a
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                                set of classes whose instances are granted a set                        code source.
                                of permissions when being executed on behalf
                                of a given set of Principals.
                                                                                   Provider             Provider is the abstract superclass for
                                This class represents a "provider" for the Java
                                                                                                        all security providers in the Java security
Provider                        Security API, where a provider implements                               infrastructure.
                                some or all parts of Java Security.

                                                                                   Provider.Service     Service represents a service in the Java
Provider.Service                The description of a security service.                                  Security infrastructure.


                                                                                   SecureClassLoader    SecureClassLoader represents a
                                This class extends ClassLoader with additional                          ClassLoader which associates the
                                support for defining classes with an associated                         classes it loads with a code source and
SecureClassLoader
                                code source and permissions which are                                   provide mechanisms to allow the relevant
                                retrieved by the system policy by default.                              permissions to be retrieved.


                                This class provides a cryptographically strong     SecureRandom         This class generates cryptographically
SecureRandom                                                                                            secure pseudo-random numbers.
                                random number generator (RNG).

                                This class defines the Service Provider            SecureRandomSpi      SecureRandomSpi is the Service Provider
SecureRandomSpi                                                                                         Interface (SPI) definition for
                                Interface (SPI) for the SecureRandom class.
                                                                                                        SecureRandom.


                                This class centralizes all security properties     Security             Security is the central class in the Java
Security
                                and common security methods.                                            Security API.


                                                                                   SecurityPermission   SecurityPermission objects guard
SecurityPermission              This class is for security permissions.                                 access to the mechanisms which
                                                                                                        implement security.


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                                                                                      Signature                 Signature is an engine class which is
                                 This Signature class is used to provide                                        capable of creating and verifying digital
                                 applications the functionality of a digital                                    signatures, using different algorithms that
Signature
                                 signature algorithm.                                                           have been registered with the Security
                                                                                                                class.
                                 This class defines the Service Provider              SignatureSpi              SignatureSpi is the Service Provider
                                 Interface (SPI) for the Signature class, which                                 Interface (SPI) definition for Signature.
SignatureSpi
                                 is used to provide the functionality of a digital
                                 signature algorithm.
                                 SignedObject is a class for the purpose of
                                 creating authentic runtime objects whose             SignedObject              A SignedObject instance acts as a
SignedObject                                                                                                    container for another object.
                                 integrity cannot be compromised without being
                                 detected.

                                                                                      Signer                    This class is deprecated. Replaced by
Signer                           Deprecated. This class is no longer used.                                      behavior in java.security.cert
                                                                                                                package and Principal

                                 This class encapsulates information about a          Timestamp                 Timestamp represents a signed time
Timestamp                        signed timestamp.                                                              stamp.

                     The UnresolvedPermission class is used to
                                                                                      UnresolvedPermission      An UnresolvedPermission represents a
UnresolvedPermission hold Permissions that were "unresolved" when                                               Permission whose type should be
                     the Policy was initialized.                                                                resolved lazy and not during initialization
                                                                                                                time of the Policy.



                                                                                     Enums
Enum Summary
KeyRep.Type                          Key type.                                        KeyRep.Type            Type enumerates the supported key types.



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                                                                                  Exceptions
Exception Summary
                                   This exception is thrown by the
                                   AccessController to indicate that a             AccessControl          AccessControlException is thrown if the
                                                                                   Exception              access control infrastructure denies protected
AccessControlException             requested access (to a critical system
                                                                                                          access due to missing permissions.
                                   resource such as the file system or the
                                   network) is denied.
                                   This is the generic Message Digest              DigestException        DigestException is a general message digest
DigestException
                                   exception.                                                             exception.
                         The GeneralSecurityException class is
                         a generic security exception class that                   GeneralSecurityExce    GeneralSecurityException is a general
GeneralSecurityException provides type safety for all the security-                ption                  security exception and the superclass for all
                         related exception classes that extend from                                       security specific exceptions.
                         it.

InvalidAlgorithm                   This is the exception for invalid or            InvalidAlgorithmPara   InvalidAlgorithmParameterException
ParameterException                 inappropriate algorithm parameters.             meterException         indicates the occurrence of invalid algorithm
                                                                                                          parameters.

                                   This is the exception for invalid Keys
InvalidKeyException                (invalid encoding, wrong length,
                                   uninitialized, etc).                            InvalidKeyException    InvalidKeyException indicates exceptional
                                                                                                          conditions, caused by an invalid key.
                                   This exception, designed for use by the
InvalidParameter
                                   JCA/JCE engine classes, is thrown when
Exception                                                                          InvalidParameter       InvalidParameterException indicates
                                   an invalid parameter is passed to a method.     Exception              exceptional conditions, caused by invalid
                                                                                                          parameters.

KeyException                       This is the basic key exception.
                                                                                   KeyException           KeyException is the common superclass of all
                                                                                                          key related exceptions.




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                                                                                  KeyManagement        KeyManagementException is a general
                                   This is the general key management             Exception            exception, thrown to indicate an exception during
KeyManagement
                                   exception for all operations dealing with                           processing an operation concerning key
Exception                                                                                              management.
                                   key management.

                                                                                  KeyStoreException    KeyStoreException is a general KeyStore
KeyStoreException                  This is the generic KeyStore exception.                             exception.


                                   This exception is thrown when a particular     NoSuchAlgorithm      NoSuchAlgorithmException indicates that a
NoSuchAlgorithm                    cryptographic algorithm is requested but is    Exception            requested algorithm could not be found.
Exception                          not available in the environment.
                        This exception is thrown when a particular                NoSuchProvider       NoSuchProviderException indicates that a
NoSuchProviderException security provider is requested but is not                 Exception            requested security provider could not be found.
                        available in the environment.
                                   This exception is thrown by
                          doPrivileged(PrivilegedException                        PrivilegedAction     PrivilegedActionException wraps
                          Action) and                                             Exception            exceptions which are thrown from within privileged
PrivilegedActionException doPrivileged(PrivilegedException                                             operations.
                          Action, AccessControlContext
                          context) to indicate that the action being
                                   performed threw a checked exception.
                                   A runtime exception for Provider
                                                                                  ProviderException    ProviderException is a general exception,
                                   exceptions (such as misconfiguration errors
                                                                                                       thrown by security Providers.
                                   or unrecoverable internal errors), which
ProviderException
                                   may be subclassed by Providers to throw
                                   specialized, provider-specific runtime
                                   errors.

                                                                                  SignatureException   SignatureException is a general Signature
SignatureException                 This is the generic Signature exception.                            exception.




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                                                                                 UnrecoverableEntry   UnrecoverableEntryException indicates, that
UnrecoverableEntry                This exception is thrown if an entry in the    Exception            a KeyStore.Entry cannot be recovered from a
Exception                         keystore cannot be recovered.                                       KeyStore.

                                                                                 UnrecoverableKey     UnrecoverableKeyException indicates, that a
UnrecoverableKey                  This exception is thrown if a key in the       Exception            key cannot be recovered from a KeyStore.
Exception                         keystore cannot be recovered.




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                                                                         Exhibit E




              JavaTM 2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                                (java.lang.Runtime)                                                              (java.lang.Runtime)
java.lang                                                                            public class
Class Runtime                                                                        Runtime
java.lang.Object                                                                     extends Object
    java.lang.Runtime                                                                  java.lang.Object
                                                                                         ↳java.lang.Runtime
public class Runtime
extends Object

Every Java application has a single instance of class Runtime that allows the
                                                                                     Class Overview
application to interface with the environment in which the application is
                                                                                     Allows Java applications to interface with the environment in which
running. The current runtime can be obtained from the getRuntime method.             they are running. Applications can not create an instance of this
                                                                                     class, but they can get a singleton instance by invoking
An application cannot create its own instance of this class.                         getRuntime().

Since:                                                                               See Also
       JDK1.0
                                                                                            System
See Also:
         getRuntime()




Method Summary                                                                       Summary
                                                                                      Public Methods
             void                                                                                   void      addShutdownHook(Thread hook)
                    addShutdownHook(Thread hook)
                                                                                                              Registers a virtual-machine shutdown hook.
                          Registers a new virtual-machine shutdown hook.
                                                                                                      int     availableProcessors()
              int availableProcessors()                                                                       Returns the number of processors available to
                          Returns the number of processors available to the                                   the virtual machine.



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   JavaTM 2 Platform Standard Edition 5.0 API Specification                                Android APIs
                     (java.lang.Runtime)                                                (java.lang.Runtime)

          Java virtual machine.
Process exec(String command)
                                                                          Process   exec(String[] progArray, String[] envp)
                Executes the specified string command in a separate                 Executes the specified command and its
          process.                                                                  arguments in a separate native process.
Process
          exec(String[] cmdarray)                                         Process   exec(String prog, String[] envp, File directory)
                Executes the specified command and arguments in a                   Executes the specified program in a separate
                                                                                    native process.
          separate process.

Process                                                                   Process   exec(String[] progArray, String[] envp, File
          exec(String[] cmdarray, String[] envp)
                                                                                    directory)
                Executes the specified command and arguments in a                   Executes the specified command and its
          separate process with the specified environment.                          arguments in a separate native process.

Process exec(String[] cmdarray, String[] envp,                            Process   exec(String prog, String[] envp)
        File dir)                                                                   Executes the specified program in a separate
                                                                                    native process.
                Executes the specified command and arguments in a
          separate process with the specified environment and
          working directory.
Process                                                                   Process   exec(String prog)
          exec(String command, String[] envp)                                       Executes the specified program in a separate
                Executes the specified string command in a separate                 native process.
          process with the specified environment.

Process
          exec(String command, String[] envp, File dir)                   Process   exec(String[] progArray)
                                                                                    Executes the specified command and its
                Executes the specified string command in a separate                 arguments in a separate native process.
          process with the specified environment and working
          directory.




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          JavaTM 2 Platform Standard Edition 5.0 API Specification                                      Android APIs
                            (java.lang.Runtime)                                                      (java.lang.Runtime)
         void exit(int status)                                                            void    exit(int code)
                     Terminates the currently running Java virtual                                Causes the virtual machine to stop running
                                                                                                  and the program to exit.
                machine by initiating its shutdown sequence.
         long
                freeMemory()                                                              long    freeMemory()
                      Returns the amount of free memory in the Java                               Returns the amount of free memory resources
                Virtual Machine.                                                                  which are available to the running program.

                                                                                          void    gc()
         void                                                                                     Indicates to the virtual machine that it would
                gc()
                       Runs the garbage collector.                                                be a good time to run the garbage collector.

                                                                                  InputStream     getLocalizedInputStream(InputStream
  InputStream                                                                                     stream)
                getLocalizedInputStream(InputStream in)
                      Deprecated. As of JDK 1.1, the preferred way to                             This method is deprecated. Use
                                                                                                  InputStreamReader.
                translate a byte stream in the local encoding into a
                character stream in Unicode is via the
                InputStreamReader and BufferedReader classes.

 OutputStream getLocalizedOutputStream(OutputStream out)                         OutputStream     getLocalizedOutputStream(OutputStream
                       Deprecated. As of JDK 1.1, the preferred way to                            stream)
                translate a Unicode character stream into a byte stream in                        This method is deprecated. Use
                                                                                                  OutputStreamWriter.
                the local encoding is via the OutputStreamWriter,
                BufferedWriter, and PrintWriter classes.
static Runtime getRuntime()
                                                                                 static Runtime   getRuntime()
                      Returns the runtime object associated with the                              Returns the single Runtime instance.
                current Java application.
                                                                                          void    halt(int code)
         void halt(int status)                                                                    Causes the virtual machine to stop running,
                       Forcibly terminates the currently running Java                             and the program to exit.
                virtual machine.



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       JavaTM 2 Platform Standard Edition 5.0 API Specification                                    Android APIs
                         (java.lang.Runtime)                                                    (java.lang.Runtime)
      void                                                                          void    load(String pathName)
             load(String filename)
                                                                                            Loads and links the dynamic library that is
                     Loads the specified filename as a dynamic library.                     identified through the specified path.

      void loadLibrary(String libname)                                              void    loadLibrary(String libName)
                     Loads the dynamic library with the specified library                   Loads and links the library with the specified
             name.                                                                          name.

      long
             maxMemory()                                                            long    maxMemory()
                                                                                            Returns the maximum amount of memory that
                   Returns the maximum amount of memory that the                            may be used by the virtual machine, or
             Java virtual machine will attempt to use.                                      Long.MAX_VALUE if there is no such limit.

   boolean removeShutdownHook(Thread hook)                                      boolean     removeShutdownHook(Thread hook)
                   De-registers a previously-registered virtual-machine                     Unregisters a previously registered virtual
             shutdown hook.                                                                 machine shutdown hook.

      void                                                                          void    runFinalization()
             runFinalization()
                                                                                            Provides a hint to the virtual machine that it
                   Runs the finalization methods of any objects                             would be useful to attempt to perform any
             pending finalization.                                                          outstanding object finalization.

static void runFinalizersOnExit(boolean value)                                static void   runFinalizersOnExit(boolean run)
                    Deprecated. This method is inherently unsafe. It                        This method is deprecated. This method is
             may result in finalizers being called on live objects while                    unsafe.
             other threads are concurrently manipulating those objects,
             resulting in erratic behavior or deadlock.
      long totalMemory()
                                                                                    long    totalMemory()
                    Returns the total amount of memory in the Java                          Returns the total amount of memory which is
             virtual machine.                                                               available to the running program.
      void
             traceInstructions(boolean on)                                          void    traceInstructions(boolean enable)
                     Enables/Disables tracing of instructions.                              Switches the output of debug information for
                                                                                            instructions on or off.




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                  JavaTM 2 Platform Standard Edition 5.0 API Specification                                         Android APIs
                                    (java.lang.Runtime)                                                         (java.lang.Runtime)
                 void                                                                             void    traceMethodCalls(boolean enable)
                        traceMethodCalls(boolean on)                                                      Switche
                              Enables/Disables tracing of method calls.                                   s the output of debug information for methods
                                                                                                          on or off.


    Methods inherited from class java.lang.Object                                        Inherited Methods[1]
    clone, equals, finalize, getClass, hashCode, notify,
    notifyAll, toString, wait, wait, wait
                                                                                          From class java.lang.Object


                                                                                         Inherited Methods[2]


                                                                                          From class java.lang.Object

                                                                                                            Objectclone()
                                                                                                                    Creates and returns a copy of
                                                                                                                    this Object.
                                                                                                           boolean equals(Object o)
                                                                                                                    Compares this instance with
                                                                                                                    the specified object and
                                                                                                                    indicates if they are equal.
                                                                                                              void finalize()
                                                                                                                    Called before the object's
                                                                                                                    memory is reclaimed by the
                                                                                                                    VM.
                                                                                                              final getClass()
                                                                                           Class<? extends Object> Returns the unique instance of
                                                                                                                    Class that represents this
                                                                                                                    object's class.


1
    Collapsed view.


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                 JavaTM 2 Platform Standard Edition 5.0 API Specification                        Android APIs
                                   (java.lang.Runtime)                                        (java.lang.Runtime)

                                                                                                    int hashCode()
                                                                                                        Returns an integer hash code
                                                                                                        for this object.
                                                                                            final void notify()
                                                                                                        Causes a thread which is
                                                                                                        waiting on this object's monitor
                                                                                                        (by means of calling one of the
                                                                                                        wait() methods) to be woken
                                                                                                        up.
                                                                                            final void notifyAll()
                                                                                                        Causes all threads which are
                                                                                                        waiting on this object's monitor
                                                                                                        (by means of calling one of the
                                                                                                        wait() methods) to be woken
                                                                                                        up.
                                                                                                StringtoString()
                                                                                                        Returns a string containing a
                                                                                                        concise, human-readable
                                                                                                        description of this object.
                                                                                            final void wait()
                                                                                                        Causes the calling thread to
                                                                                                        wait until another thread calls
                                                                                                        the notify() or notifyAll()
                                                                                                        method of this object.
                                                                                            final void wait(long millis, int nanos)
                                                                                                        Causes the calling thread to
                                                                                                        wait until another thread calls
                                                                                                        the notify() or notifyAll()
                                                                                                        method of this object or until
                                                                                                        the specified timeout expires.


2
    Expanded view.


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JavaTM 2 Platform Standard Edition 5.0 API Specification                        Android APIs
                  (java.lang.Runtime)                                        (java.lang.Runtime)

                                                                           final void wait(long millis)
                                                                                      Causes the calling thread to
                                                                                      wait until another thread calls
                                                                                      the notify() or notifyAll()
                                                                                      method of this object or until
                                                                                      the specified timeout expires.




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                               Android APIs
                              (java.lang.Runtime)                                                               (java.lang.Runtime)

Method Detail                                                                      Public Methods
addShutdownHook                                                                    public void addShutdownHook (Thread hook)

public void addShutdownHook(Thread hook)                                           Since: API Level 1

     Registers a new virtual-machine shutdown hook.
                                                                                   Registers a virtual-machine shutdown hook. A shutdown hook is a
                                                                                   Thread that is ready to run, but has not yet been started. All registered
     The Java virtual machine shuts down in response to two kinds of               shutdown hooks will be executed once the virtual machine shuts down
     events:                                                                       properly. A proper shutdown happens when either the exit(int)
                                                                                   method is called or the surrounding system decides to terminate the
        •    The program exits normally, when the last non-daemon thread           application, for example in response to a CTRL-C or a system-wide
             exits or when the exit (equivalently, System.exit) method is          shutdown. A termination of the virtual machine due to the halt(int)
             invoked, or                                                           method, an Error or a SIGKILL, in contrast, is not considered a proper
                                                                                   shutdown. In these cases the shutdown hooks will not be run.
        •    The virtual machine is terminated in response to a user
             interrupt, such as typing ^C, or a system-wide event, such as         Shutdown hooks are run concurrently and in an unspecified order. Hooks
             user logoff or system shutdown.                                       failing due to an unhandled exception are not a problem, but the stack
                                                                                   trace might be printed to the console. Once initiated, the whole shutdown
     A shutdown hook is simply an initialized but unstarted thread. When           process can only be terminated by calling halt().
     the virtual machine begins its shutdown sequence it will start all
     registered shutdown hooks in some unspecified order and let them run          If runFinalizersOnExit(boolean) has been called with a true
     concurrently. When all the hooks have finished it will then run all           argument, garbage collection and finalization will take place after all hooks
                                                                                   are either finished or have failed. Then the virtual machine terminates.
     uninvoked finalizers if finalization-on-exit has been enabled. Finally,
     the virtual machine will halt. Note that daemon threads will continue to      It is recommended that shutdown hooks do not do any time-consuming
     run during the shutdown sequence, as will non-daemon threads if               activities, in order to not hold up the shutdown process longer than
     shutdown was initiated by invoking the exit method.                           necessary.

     Once the shutdown sequence has begun it can be stopped only by                Parameters
     invoking the halt method, which forcibly terminates the virtual                    hook      the shutdown hook to register.
     machine.                                                                      Throws




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      JavaTM 2 Platform Standard Edition 5.0 API Specification                                          Android APIs
                        (java.lang.Runtime)                                                          (java.lang.Runtime)
Once the shutdown sequence has begun it is impossible to register a          IllegalArgumentException     if the hook has already been started or
new shutdown hook or de-register a previously-registered hook.                                            if it has already been registered.
Attempting either of these operations will cause an
IllegalStateException to be thrown.                                          IllegalStateException        if the virtual machine is already shutting
                                                                                                          down.

Shutdown hooks run at a delicate time in the life cycle of a virtual
                                                                             SecurityException            if a SecurityManager is registered and
machine and should therefore be coded defensively. They should, in                                        the calling code doesn't have the
particular, be written to be thread-safe and to avoid deadlocks insofar as                                RuntimePermission("shutdownHooks").
possible. They should also not rely blindly upon services that may have
registered their own shutdown hooks and therefore may themselves in
the process of shutting down.

Shutdown hooks should also finish their work quickly. When a
program invokes exit the expectation is that the virtual machine will
promptly shut down and exit. When the virtual machine is terminated
due to user logoff or system shutdown the underlying operating system
may only allow a fixed amount of time in which to shut down and exit.
It is therefore inadvisable to attempt any user interaction or to perform
a long-running computation in a shutdown hook.

Uncaught exceptions are handled in shutdown hooks just as in any
other thread, by invoking the uncaughtException method of the
thread's ThreadGroup object. The default implementation of this
method prints the exception's stack trace to System.err and terminates
the thread; it does not cause the virtual machine to exit or halt.

In rare circumstances the virtual machine may abort, that is, stop
running without shutting down cleanly. This occurs when the virtual
machine is terminated externally, for example with the SIGKILL signal
on Unix or the TerminateProcess call on Microsoft Windows. The
virtual machine may also abort if a native method goes awry by, for


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                        (java.lang.Runtime)                                        (java.lang.Runtime)
example, corrupting internal data structures or attempting to access
nonexistent memory. If the virtual machine aborts then no guarantee
can be made about whether or not any shutdown hooks will be run.

Parameters:
hook - An initialized but unstarted Thread object

Throws:
IllegalArgumentException - If the specified hook has already been
registered, or if it can be determined that the hook is already running or
has already been run
IllegalStateException - If the virtual machine is already in the
process of shutting down
SecurityException - If a security manager is present and it denies
RuntimePermission("shutdownHooks")
Since:
1.3
See Also:
removeShutdownHook(java.lang.Thread), halt(int), exit(int)




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                              (java.lang.Runtime)                                                              (java.lang.Runtime)
availableProcessors                                                                public int availableProcessors ()

public int availableProcessors()                                                   Since: API Level 1

      Returns the number of processors available to the Java virtual machine.
                                                                                   Returns the number of processors available to the virtual machine.
      This value may change during a particular invocation of the virtual
      machine. Applications that are sensitive to the number of available          Returns
      processors should therefore occasionally poll this property and adjust                the number of available processors, at least 1.
      their resource usage appropriately.

      Returns:
      the maximum number of processors available to the virtual machine;
      never smaller than one
      Since:
      1.4




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                                Android APIs
                               (java.lang.Runtime)                                                                (java.lang.Runtime)
exit
                                                                                    public Process exec (String[] progArray, String[] envp)
public void exit(int status)
                                                                               Since: API Level 1
       Terminates the currently running Java virtual machine by initiating its
       shutdown sequence. This method never returns normally. The argument
                                                                               Executes the specified command and its arguments in a separate native
       serves as a status code; by convention, a nonzero status code indicates process. The new process uses the environment provided in envp. Calling
       abnormal termination.                                                   this method is equivalent to calling exec(progArray, envp, null).

       The virtual machine's shutdown sequence consists of two phases. In the       Parameters
       first phase all registered shutdown hooks, if any, are started in some
                                                                                         progArray       the array containing the program to execute as well as
       unspecified order and allowed to run concurrently until they finish. In                           any arguments to the program.
       the second phase all uninvoked finalizers are run if finalization-on-
       exit has been enabled. Once this is done the virtual machine halts.               envp            the array containing the environment to start the new
                                                                                                         process in.
       If this method is invoked after the virtual machine has begun its
       shutdown sequence then if shutdown hooks are being run this method           Returns
       will block indefinitely. If shutdown hooks have already been run and                  the new Process object that represents the native process.
       on-exit finalization has been enabled then this method halts the virtual     Throws
       machine with the given status code if the status is nonzero; otherwise, it
                                                                                         IOException             if the requested program can not be executed.
       blocks indefinitely.
                                                                                         SecurityException       if the current SecurityManager disallows
       The System.exit method is the conventional and convenient means of                                        program execution.
       invoking this method.
                                                                                    See Also
       Parameters:
                                                                                             checkExec(String)
       status - Termination status. By convention, a nonzero status code
       indicates abnormal termination.
       Throws:                                                                      public Process exec (String prog, String[] envp, File directory)
       SecurityException - If a security manager is present and its                 Since: API Level 1

       checkExit method does not permit exiting with the specified status
                                                                                    Executes the specified program in a separate native process. The new
       See Also:
                                                                                    process uses the environment provided in envp and the working directory


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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                                  Android APIs
                               (java.lang.Runtime)                                                                  (java.lang.Runtime)
       SecurityException, SecurityManager.checkExit(int),                           specified by directory.
       addShutdownHook(java.lang.Thread),
       removeShutdownHook(java.lang.Thread),                                        Parameters
       runFinalizersOnExit(boolean), halt(int)                                           prog            the name of the program to execute.

…                                                                                        envp            the array containing the environment to start the new
                                                                                                         process in.

exec                                                                                     directory       the directory in which to execute the program. If null,
                                                                                                         execute if in the same directory as the parent process.
public Process exec(String command)
             throws IOException
                                                                                    Returns
       Executes the specified string command in a separate process.
                                                                                             the new Process object that represents the native process.
       This is a convenience method. An invocation of the form                      Throws
       exec(command) behaves in exactly the same way as the invocation                   IOException              if the requested program can not be executed.
       exec(command, null, null).
                                                                                         SecurityException        if the current SecurityManager disallows
       Parameters:                                                                                                program execution.
       command - a specified system command.
       Returns:                                                                     See Also
       A new Process object for managing the subprocess                                      checkExec(String)
       Throws:
       SecurityException - If a security manager exists and its checkExec           public Process exec (String[] progArray, String[] envp, File directory)
       method doesn't allow creation of the subprocess                              Since: API Level 1
       IOException - If an I/O error occurs
       NullPointerException - If command is null                                    Executes the specified command and its arguments in a separate native
       IllegalArgumentException - If command is empty                               process. The new process uses the environment provided in envp and the
       See Also:                                                                    working directory specified by directory.
       exec(String[], String[], File), ProcessBuilder
                                                                                    Parameters
exec


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           JavaTM 2 Platform Standard Edition 5.0 API Specification                                                 Android APIs
                             (java.lang.Runtime)                                                                 (java.lang.Runtime)
public Process exec(String command,                                                    progArray       the array containing the program to execute as well as
                       String[] envp)                                                                  any arguments to the program.
             throws IOException
       Executes the specified string command in a separate process with the            envp            the array containing the environment to start the new
       specified environment.                                                                          process in.

       This is a convenience method. An invocation of the form                         directory       the directory in which to execute the program. If null,
       exec(command, envp) behaves in exactly the same way as the                                      execute if in the same directory as the parent process.
       invocation exec(command, envp, null).
                                                                                  Returns
       Parameters:                                                                         the new Process object that represents the native process.
       command - a specified system command.                                      Throws
       envp - array of strings, each element of which has environment variable         IOException             if the requested program can not be executed.
       settings in the format name=value, or null if the subprocess should
       inherit the environment of the current process.                                 SecurityException       if the current SecurityManager disallows
       Returns:                                                                                                program execution.
       A new Process object for managing the subprocess
       Throws:                                                                    See Also
       SecurityException - If a security manager exists and its checkExec                  checkExec(String)
       method doesn't allow creation of the subprocess
       IOException - If an I/O error occurs
                                                                                  public Process exec (String prog, String[] envp)
       NullPointerException - If command is null, or one of the elements
                                                                                  Since: API Level 1
       of envp is null
       IllegalArgumentException - If command is empty
                                                                                  Executes the specified program in a separate native process. The new
       See Also:                                                                  process uses the environment provided in envp. Calling this method is
       exec(String[], String[], File), ProcessBuilder                             equivalent to calling exec(prog, envp, null).

exec                                                                              Parameters
                                                                                       prog      the name of the program to execute.
public Process exec(String command,
                    String[] envp,
                    File dir)



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      JavaTM 2 Platform Standard Edition 5.0 API Specification                                                Android APIs
                        (java.lang.Runtime)                                                                (java.lang.Runtime)
        throws IOException                                                        envp      the array containing the environment to start the new
Executes the specified string command in a separate process with the                        process in.
specified environment and working directory.
                                                                             Returns
This is a convenience method. An invocation of the form                               the new Process object that represents the native process.
exec(command, envp, dir) behaves in exactly the same way as the              Throws
invocation exec(cmdarray, envp, dir), where cmdarray is an array                  IOException            if the requested program can not be executed.
of all the tokens in command.
                                                                                  SecurityException      if the current SecurityManager disallows
More precisely, the command string is broken into tokens using a                                         program execution.
StringTokenizer created by the call new
StringTokenizer(command) with no further modification of the                 See Also
character categories. The tokens produced by the tokenizer are then                   checkExec(String)
placed in the new string array cmdarray, in the same order.
                                                                             public Process exec (String prog)
Parameters:
                                                                             Since: API Level 1
command - a specified system command.
envp - array of strings, each element of which has environment variable
                                                                             Executes the specified program in a separate native process. The new
settings in the format name=value, or null if the subprocess should          process inherits the environment of the caller. Calling this method is
inherit the environment of the current process.                              equivalent to calling exec(prog, null, null).
dir - the working directory of the subprocess, or null if the subprocess
should inherit the working directory of the current process.                 Parameters
Returns:                                                                          prog      the name of the program to execute.
A new Process object for managing the subprocess
Throws:                                                                      Returns
SecurityException - If a security manager exists and its checkExec
                                                                                      the new Process object that represents the native process.
method doesn't allow creation of the subprocess
                                                                             Throws
IOException - If an I/O error occurs
NullPointerException - If command is null, or one of the elements                 IOException            if the requested program can not be executed.
of envp is null
IllegalArgumentException - If command is empty


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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                                 Android APIs
                               (java.lang.Runtime)                                                                 (java.lang.Runtime)
       Since:                                                                            SecurityException        if the current SecurityManager disallows
       1.3                                                                                                        program execution.
       See Also:
       ProcessBuilder                                                               See Also
                                                                                             checkExec(String)
exec
public Process exec(String[] cmdarray)                                              public Process exec (String[] progArray)
             throws IOException                                                     Since: API Level 1
       Executes the specified command and arguments in a separate process.
                                                                                    Executes the specified command and its arguments in a separate native
       This is a convenience method. An invocation of the form                      process. The new process inherits the environment of the caller. Calling
       exec(cmdarray) behaves in exactly the same way as the invocation             this method is equivalent to calling exec(progArray, null, null).
       exec(cmdarray, null, null).
                                                                                    Parameters
       Parameters:                                                                       progArray       the array containing the program to execute as well as
       cmdarray - array containing the command to call and its arguments.                                any arguments to the program.
       Returns:
       A new Process object for managing the subprocess                             Returns
       Throws:                                                                               the new Process object that represents the native process.
       SecurityException - If a security manager exists and its checkExec           Throws
       method doesn't allow creation of the subprocess                                   IOException              if the requested program can not be executed.
       IOException - If an I/O error occurs
       NullPointerException - If cmdarray is null, or one of the elements                SecurityException        if the current SecurityManager disallows
       of cmdarray is null                                                                                        program execution.
       IndexOutOfBoundsException - If cmdarray is an empty array (has
       length 0)                                                                    See Also
       See Also:                                                                             checkExec(String)
       ProcessBuilder

                                                                                    public void exit (int code)
exec
                                                                                    Since: API Level 1




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           JavaTM 2 Platform Standard Edition 5.0 API Specification                                            Android APIs
                             (java.lang.Runtime)                                                            (java.lang.Runtime)
public Process exec(String[] cmdarray,
                       String[] envp)                                             Causes the virtual machine to stop running and the program to exit. If
             throws IOException                                                   runFinalizersOnExit(boolean) has been previously invoked with a
       Executes the specified command and arguments in a separate process         true argument, then all objects will be properly garbage-collected and
       with the specified environment.                                            finalized first.

       This is a convenience method. An invocation of the form                    Parameters
       exec(cmdarray, envp) behaves in exactly the same way as the                    code    the return code. By convention, non-zero return codes
       invocation exec(cmdarray, envp, null).                                                 indicate abnormal terminations.

       Parameters:                                                             Throws
       cmdarray - array containing the command to call and its arguments.         SecurityException if the current SecurityManager does not
       envp - array of strings, each element of which has environment variable                      allow the running thread to terminate the virtual
       settings in the format name=value, or null if the subprocess should                          machine.
       inherit the environment of the current process.
       Returns:                                                                See Also
       A new Process object for managing the subprocess                              checkExit(int)
       Throws:
       SecurityException - If a security manager exists and its checkExec
       method doesn't allow creation of the subprocess
       IOException - If an I/O error occurs
       NullPointerException - If cmdarray is null, or one of the elements
       of cmdarray is null, or one of the elements of envp is null
       IndexOutOfBoundsException - If cmdarray is an empty array (has
       length 0)
       See Also:
       ProcessBuilder

exec
public Process exec(String[] cmdarray,
                    String[] envp,



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      JavaTM 2 Platform Standard Edition 5.0 API Specification                        Android APIs
                        (java.lang.Runtime)                                        (java.lang.Runtime)
                  File dir)
        throws IOException
Executes the specified command and arguments in a separate process
with the specified environment and working directory.

Given an array of strings cmdarray, representing the tokens of a
command line, and an array of strings envp, representing
"environment" variable settings, this method creates a new process in
which to execute the specified command.

This method checks that cmdarray is a valid operating system
command. Which commands are valid is system-dependent, but at the
very least the command must be a non-empty list of non-null strings.

If envp is null, the subprocess inherits the environment settings of the
current process.

ProcessBuilder.start() is now the preferred way to start a process
with a modified environment.

The working directory of the new subprocess is specified by dir. If dir
is null, the subprocess inherits the current working directory of the
current process.

If a security manager exists, its checkExec method is invoked with the
first component of the array cmdarray as its argument. This may result
in a SecurityException being thrown.

Starting an operating system process is highly system-dependent.
Among the many things that can go wrong are:



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       JavaTM 2 Platform Standard Edition 5.0 API Specification                        Android APIs
                         (java.lang.Runtime)                                        (java.lang.Runtime)
   •    The operating system program file was not found.
   •    Access to the program file was denied.
   •    The working directory does not exist.

In such cases an exception will be thrown. The exact nature of the
exception is system-dependent, but it will always be a subclass of
IOException.

Parameters:
cmdarray - array containing the command to call and its arguments.
envp - array of strings, each element of which has environment variable
settings in the format name=value, or null if the subprocess should
inherit the environment of the current process.
dir - the working directory of the subprocess, or null if the subprocess
should inherit the working directory of the current process.
Returns:
A new Process object for managing the subprocess
Throws:
SecurityException - If a security manager exists and its checkExec
method doesn't allow creation of the subprocess
IOException - If an I/O error occurs
NullPointerException - If cmdarray is null, or one of the elements
of cmdarray is null, or one of the elements of envp is null
IndexOutOfBoundsException - If cmdarray is an empty array (has
length 0)
Since:
1.3
See Also:
ProcessBuilder




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                               (java.lang.Runtime)                                                              (java.lang.Runtime)
freeMemory
                                                                                    public long freeMemory ()
public long freeMemory()
                                                                                    Since: API Level 1
     Returns the amount of free memory in the Java Virtual Machine.
     Calling the gc method may result in increasing the value returned by
     freeMemory.                                                                    Returns the amount of free memory resources which are available to the
                                                                                    running program.
     Returns:
     an approximation to the total amount of memory currently available for
                                                                                    Returns
     future allocated objects, measured in bytes.
                                                                                             the approximate amount of free memory, measured in bytes.

gc
                                                                                    public void gc ()
public void gc()
                                                                                    Since: API Level 1
     Runs the garbage collector. Calling this method suggests that the Java
     virtual machine expend effort toward recycling unused objects in order
                                                                                    Indicates to the virtual machine that it would be a good time to run the
     to make the memory they currently occupy available for quick reuse.            garbage collector. Note that this is a hint only. There is no guarantee that
     When control returns from the method call, the virtual machine has             the garbage collector will actually be run.
     made its best effort to recycle all discarded objects.

     The name gc stands for "garbage collector". The virtual machine
     performs this recycling process automatically as needed, in a separate
     thread, even if the gc method is not invoked explicitly.

     The method System.gc() is the conventional and convenient means of
     invoking this method.




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                                Android APIs
                              (java.lang.Runtime)                                                                (java.lang.Runtime)
getLocalizedInputStream
                                                                                   public InputStream getLocalizedInputStream (InputStream stream)
@Deprecated
public InputStream getLocalizedInputStream(InputStream in)                         Since: API Level 1
      Deprecated. As of JDK 1.1, the preferred way to translate a byte
      stream in the local encoding into a character stream in Unicode is via          This method is deprecated.
      the InputStreamReader and BufferedReader classes.                               Use InputStreamReader.
      Creates a localized version of an input stream. This method takes an
      InputStream and returns an InputStream equivalent to the argument            Returns the localized version of the specified input stream. The input
                                                                                   stream that is returned automatically converts all characters from the local
      in all respects except that it is localized: as characters in the local      character set to Unicode after reading them from the underlying stream.
      character set are read from the stream, they are automatically converted
      from the local character set to Unicode.                                     Parameters
                                                                                        stream      the input stream to localize.
      If the argument is already a localized stream, it may be returned as the
      result.
                                                                                   Returns
      Parameters:                                                                           the localized input stream.
      in - InputStream to localize
      Returns:
      a localized input stream
      See Also:
InputStream, BufferedReader.BufferedReader(java.io.Reader),
InputStreamReader.InputStreamReader(java.io.InputStream)




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                                Android APIs
                              (java.lang.Runtime)                                                                (java.lang.Runtime)
getLocalizedOutputStream
                                                                                   public OutputStream getLocalizedOutputStream (OutputStream
@Deprecated
                                                                                   stream)
public OutputStream getLocalizedOutputStream(OutputStream out)
      Deprecated. As of JDK 1.1, the preferred way to translate a Unicode          Since: API Level 1

      character stream into a byte stream in the local encoding is via the
      OutputStreamWriter, BufferedWriter, and PrintWriter classes.                    This method is deprecated.
      Creates a localized version of an output stream. This method takes an           Use OutputStreamWriter.
      OutputStream and returns an OutputStream equivalent to the
                                                                                   Returns the localized version of the specified output stream. The output
      argument in all respects except that it is localized: as Unicode             stream that is returned automatically converts all characters from Unicode
      characters are written to the stream, they are automatically converted to    to the local character set before writing them to the underlying stream.
      the local character set.
                                                                                   Parameters
      If the argument is already a localized stream, it may be returned as the          stream      the output stream to localize.
      result.
                                                                                   Returns
      Parameters:
      out - OutputStream to localize                                                        the localized output stream.
      Returns:
      a localized output stream
      See Also:
OutputStream, BufferedWriter.BufferedWriter(java.io.Writer),
OutputStreamWriter.OutputStreamWriter(java.io.OutputStream),
PrintWriter.PrintWriter(java.io.OutputStream)




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                               (java.lang.Runtime)                                                              (java.lang.Runtime)
getRuntime
                                                                                    public static Runtime getRuntime ()
public static Runtime getRuntime()
                                                                                    Since: API Level 1
      Returns the runtime object associated with the current Java application.
      Most of the methods of class Runtime are instance methods and must
                                                                                    Returns the single Runtime instance.
      be invoked with respect to the current runtime object.
      Returns:
                                                                                    Returns
      the Runtime object associated with the current Java application.
                                                                                             the Runtime object for the current application.




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                                 Android APIs
                               (java.lang.Runtime)                                                                 (java.lang.Runtime)
halt
                                                                                    public void halt (int code)
public void halt(int status)
                                                                                    Since: API Level 1
       Forcibly terminates the currently running Java virtual machine. This
       method never returns normally.
                                                                                    Causes the virtual machine to stop running, and the program to exit.
                                                                                    Neither shutdown hooks nor finalizers are run before.
       This method should be used with extreme caution. Unlike the exit
       method, this method does not cause shutdown hooks to be started and          Parameters
       does not run uninvoked finalizers if finalization-on-exit has been
                                                                                         code      the return code. By convention, non-zero return codes
       enabled. If the shutdown sequence has already been initiated then this                      indicate abnormal terminations.
       method does not wait for any running shutdown hooks or finalizers to
       finish their work.                                                           Throws
                                                                                         SecurityException        if the current SecurityManager does not
       Parameters:                                                                                                allow the running thread to terminate the virtual
       status - Termination status. By convention, a nonzero status code                                          machine.
       indicates abnormal termination. If the exit (equivalently,
       System.exit) method has already been invoked then this status code           See Also
       will override the status code passed to that method.                                  checkExit(int)
       Throws:
                                                                                             addShutdownHook(Thread)
       SecurityException - If a security manager is present and its
                                                                                             removeShutdownHook(Thread)
       checkExit method does not permit an exit with the specified status
       Since:                                                                                runFinalizersOnExit(boolean)
       1.3
       See Also:
       exit(int), addShutdownHook(java.lang.Thread),
       removeShutdownHook(java.lang.Thread)




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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                                Android APIs
                               (java.lang.Runtime)                                                                (java.lang.Runtime)
load
                                                                                    public void load (String pathName)
public void load(String filename)
                                                                                    Since: API Level 1
       Loads the specified filename as a dynamic library. The filename
       argument must be a complete path name. From java_g it will
                                                                                    Loads and links the dynamic library that is identified through the specified
       automagically insert "_g" before the ".so" (for example                      path. This method is similar to loadLibrary(String), but it accepts a
       Runtime.getRuntime().load("/home/avh/lib/libX11.so");).                      full path specification whereas loadLibrary just accepts the name of the
                                                                                    library to load.
       First, if there is a security manager, its checkLink method is called
       with the filename as its argument. This may result in a security             Parameters
       exception.                                                                        pathName        the absolute (platform dependent) path to the library to
                                                                                                         load.
       This is similar to the method loadLibrary(String), but it accepts a
       general file name as an argument rather than just a library name,            Throws
       allowing any file of native code to be loaded.                                    UnsatisfiedLinkError      if the library can not be loaded.

       The method System.load(String) is the conventional and convenient                 SecurityException         if the current SecurityManager does not
       means of invoking this method.                                                                              allow to load the library.

      Parameters:                                                                   See Also
      filename - the file to load.                                                           checkLink(String)
      Throws:
      SecurityException - if a security manager exists and its checkLink
      method doesn't allow loading of the specified dynamic library
      UnsatisfiedLinkError - if the file does not exist.
      NullPointerException - if filename is null
      See Also:
getRuntime(), SecurityException,
SecurityManager.checkLink(java.lang.String)




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              JavaTM 2 Platform Standard Edition 5.0 API Specification                                                   Android APIs
                                (java.lang.Runtime)                                                                   (java.lang.Runtime)
loadLibrary
                                                                                     public void loadLibrary (String libName)
public void loadLibrary(String libname)
                                                                                     Since: API Level 1
      Loads the dynamic library with the specified library name. A file
      containing native code is loaded from the local file system from a place
                                                                                     Loads and links the library with the specified name. The mapping of the
      where library files are conventionally obtained. The details of this           specified library name to the full path for loading the library is
      process are implementation-dependent. The mapping from a library               implementation-dependent.
      name to a specific filename is done in a system-specific manner.
                                                                                     Parameters
      First, if there is a security manager, its checkLink method is called               libName         the name of the library to load.
      with the libname as its argument. This may result in a security
      exception.                                                                     Throws
                                                                                          UnsatisfiedLinkError        if the library can not be loaded.
      The method System.loadLibrary(String) is the conventional and
      convenient means of invoking this method. If native methods are to be               SecurityException           if the current SecurityManager does not
      used in the implementation of a class, a standard strategy is to put the                                        allow to load the library.
      native code in a library file (call it LibFile) and then to put a static
      initializer:                                                                   See Also
                                                                                              checkLink(String)
       static { System.loadLibrary("LibFile"); }

      within the class declaration. When the class is loaded and initialized,
      the necessary native code implementation for the native methods will
      then be loaded as well.

      If this method is called more than once with the same library name, the
      second and subsequent calls are ignored.

      Parameters:
      libname - the name of the library.
      Throws:



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             JavaTM 2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                               (java.lang.Runtime)                                                              (java.lang.Runtime)
      SecurityException - if a security manager exists and its checkLink
      method doesn't allow loading of the specified dynamic library
      UnsatisfiedLinkError - if the library does not exist.
      NullPointerException - if libname is null
      See Also:
SecurityException, SecurityManager.checkLink(java.lang.String)

maxMemory
                                                                                    public long maxMemory ()
public long maxMemory()
                                                                                    Since: API Level 1
      Returns the maximum amount of memory that the Java virtual machine
      will attempt to use. If there is no inherent limit then the value
                                                                                    Returns the maximum amount of memory that may be used by the virtual
      Long.MAX VALUE will be returned.                                              machine, or Long.MAX_VALUE if there is no such limit.
      Returns:
      the maximum amount of memory that the virtual machine will attempt            Returns
      to use, measured in bytes
      Since:                                                                                 the maximum amount of memory that the virtual machine will try to
      1.4                                                                                    allocate, measured in bytes.




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           JavaTM 2 Platform Standard Edition 5.0 API Specification                                               Android APIs
                             (java.lang.Runtime)                                                               (java.lang.Runtime)
removeShutdownHook
                                                                                  public boolean removeShutdownHook (Thread hook)
public boolean removeShutdownHook(Thread hook)
                                                                                  Since: API Level 1
     De-registers a previously-registered virtual-machine shutdown hook.
     Parameters:
                                                                                  Unregisters a previously registered virtual machine shutdown hook.
     hook - the hook to remove
     Returns:
                                                                                  Parameters
     true if the specified hook had previously been registered and was
                                                                                       hook      the shutdown hook to remove.
     successfully de-registered, false otherwise.
     Throws:
                                                                                  Returns
     IllegalStateException - If the virtual machine is already in the
     process of shutting down                                                              true if the hook has been removed successfully; false
     SecurityException - If a security manager is present and it denies                    otherwise.
     RuntimePermission("shutdownHooks")                                           Throws
     Since:                                                                            IllegalStateException    if the virtual machine is already shutting
     1.3                                                                                                        down.
     See Also:
     addShutdownHook(java.lang.Thread), exit(int)                                      SecurityException        if a SecurityManager is registered and the
                                                                                                                calling code doesn't have the
                                                                                                                RuntimePermission("shutdownHooks").




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                              Android APIs
                              (java.lang.Runtime)                                                              (java.lang.Runtime)
runFinalization
                                                                                   public void runFinalization ()
public void runFinalization()
                                                                                   Since: API Level 1
      Runs the finalization methods of any objects pending finalization.
      Calling this method suggests that the Java virtual machine expend
                                                                                   Provides a hint to the virtual machine that it would be useful to attempt to
      effort toward running the finalize methods of objects that have been         perform any outstanding object finalization.
      found to be discarded but whose finalize methods have not yet been
      run. When control returns from the method call, the virtual machine has
      made a best effort to complete all outstanding finalizations.

      The virtual machine performs the finalization process automatically as
      needed, in a separate thread, if the runFinalization method is not
      invoked explicitly.

      The method System.runFinalization() is the conventional and
      convenient means of invoking this method.

      See Also:
Object.finalize()




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            JavaTM 2 Platform Standard Edition 5.0 API Specification                                                Android APIs
                              (java.lang.Runtime)                                                                (java.lang.Runtime)
runFinalizersOnExit
                                                                                   public static void runFinalizersOnExit (boolean run)
@Deprecated
public static void runFinalizersOnExit(boolean value)                              Since: API Level 1
      Deprecated. This method is inherently unsafe. It may result in
      finalizers being called on live objects while other threads are                 This method is deprecated.
      concurrently manipulating those objects, resulting in erratic behavior          This method is unsafe.
      or deadlock.
      Enable or disable finalization on exit; doing so specifies that the          Sets the flag that indicates whether all objects are finalized when the
      finalizers of all objects that have finalizers that have not yet been        virtual machine is about to exit. Note that all finalization which occurs
                                                                                   when the system is exiting is performed after all running threads have
      automatically invoked are to be run before the Java runtime exits. By        been terminated.
      default, finalization on exit is disabled.
                                                                                   Parameters
      If there is a security manager, its checkExit method is first called with
                                                                                        run     true to enable finalization on exit, false to disable it.
      0 as its argument to ensure the exit is allowed. This could result in a
      SecurityException.

      Parameters:
      value - true to enable finalization on exit, false to disable
      Throws:
      SecurityException - if a security manager exists and its checkExit
      method doesn't allow the exit.
      Since:
      JDK1.1
      See Also:
      exit(int), gc(), SecurityManager.checkExit(int)




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                                                                      Exhibit E


           JavaTM 2 Platform Standard Edition 5.0 API Specification                                             Android APIs
                             (java.lang.Runtime)                                                             (java.lang.Runtime)
totalMemory
                                                                                  public long totalMemory ()
public long totalMemory()
                                                                                  Since: API Level 1
     Returns the total amount of memory in the Java virtual machine. The
     value returned by this method may vary over time, depending on the
                                                                                  Returns the total amount of memory which is available to the running
     host environment.                                                            program.

     Note that the amount of memory required to hold an object of any given Returns
     type may be implementation-dependent.
                                                                                           the total amount of memory, measured in bytes.
     Returns:
     the total amount of memory currently available for current and future
     objects, measured in bytes.




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                                                                       Exhibit E


            JavaTM 2 Platform Standard Edition 5.0 API Specification                                                Android APIs
                              (java.lang.Runtime)                                                                (java.lang.Runtime)
traceInstructions
                                                                                   public void traceInstructions (boolean enable)
public void traceInstructions(boolean on)
                                                                                   Since: API Level 1
      Enables/Disables tracing of instructions. If the boolean argument is
      true, this method suggests that the Java virtual machine emit
                                                                                   Switches the output of debug information for instructions on or off. On
      debugging information for each instruction in the virtual machine as it      Android, this method does nothing.
      is executed. The format of this information, and the file or other output
      stream to which it is emitted, depends on the host environment. The          Parameters
      virtual machine may ignore this request if it does not support this
                                                                                        enable      true to switch tracing on, false to switch it off.
      feature. The destination of the trace output is system dependent.

      If the boolean argument is false, this method causes the virtual
      machine to stop performing the detailed instruction trace it is
      performing.

      Parameters:
      on - true to enable instruction tracing; false to disable this feature.




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                                                                       Exhibit E


            JavaTM 2 Platform Standard Edition 5.0 API Specification                                                Android APIs
                              (java.lang.Runtime)                                                                (java.lang.Runtime)
traceMethodCalls
                                                                                   public void traceMethodCalls (boolean enable)
public void traceMethodCalls(boolean on)
                                                                                   Since: API Level 1
      Enables/Disables tracing of method calls. If the boolean argument is
      true, this method suggests that the Java virtual machine emit
                                                                                   Switches the output of debug information for methods on or off.
      debugging information for each method in the virtual machine as it is
      called. The format of this information, and the file or other output
                                                                                   Parameters
      stream to which it is emitted, depends on the host environment. The
                                                                                        enable      true to switch tracing on, false to switch it off.
      virtual machine may ignore this request if it does not support this
      feature.

      Calling this method with argument false suggests that the virtual
      machine cease emitting per-call debugging information.

      Parameters:
      on - true to enable instruction tracing; false to disable this feature.




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